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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION




UNITED STATES OF AMERICA


vs.                                      NO. 4:07CR00247-002        SWW


TERRENCE LAMONT MCGHEE



                                         ORDER

      The   above   entitled   cause   came   on   for    hearing   December   8,   2011   on

government’s motions to revoke the supervised release previously granted this

defendant in the United States District Court for the Eastern District of

Arkansas. Based upon the admissions of defendant and statements of counsel, the

Court found that defendant has violated the conditions of his supervised release

without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked granting government’s

motions [doc #153 & #181]. Defendant shall serve a term of imprisonment of SEVEN

(7) MONTHS in the custody of the Bureau of Prisons. The Court recommends that

defendant be incarcerated as close to central Arkansas as possible; and that

defendant participate in residential or non-residential substance abuse treatment

during incarceration.

      There will be NO supervised release to follow.

      The remaining restitution is mandatory and is payable to the U. S. District

Court, Eastern District of Arkansas, during incarceration. During incarceration,

the defendant will pay 50% per month of all funds that are available to him.

During residential re-entry placement, payments will be reduced to 10% of

defendant’s gross monthly income and will remain at 10% of defendant’s gross

monthly income until all restitution has been paid.

      Defendant is remanded to the custody of the U. S. Marshal for transport to
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the designated facility to begin the service of the sentence imposed.

      IT IS SO ORDERED this 15th day of December 2011.



                                          /s/Susan Webber Wright

                                          United States District Judge
